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          Cyrus Sullivan                                                                 ~
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          Portland, OR 97286                                                                    ~~
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          Cyrus Andrew Sullivan
                                                                                                        vP~              SH.Kx~~.
          V.

          Five Bureau of Prisons Guards          Complaint: Excessive Force. 8th Amendment Violation




                   the plaintiff, Cyrus Andrew Sullivan, by and through myself pro se, do hereby submit

          this complaint against five employees of the Federal Bureau of Prisons("BOP") known to me as

          Lieutenant S. Williams, Senior Officer Specialist ("S.O.S.") S. Luna, 5.0.5. N. Pedraza, Senior

          Officer A. Olmos and Senior Officer T. Oeltjenbruns, who were employed as correctional

          officers at the United States Penitentiary in Victorville, California ("USP Victorville") on July 29,

          2015. This complaint is being brought under Bivens v. Six Unknown Named Agents of the

~ ~       Federal Bureau of Narcotics, 403 U.S. 388(1971)for cruel and unusual punishment in violation

          of the 8th Amendment involving assault, battery, torture, and excessive force.



~~]~~                                                JURISDICTION

  ~Ai~-
                 "givens is a judicially created cause of action against federal officers arising under the



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United States Constitution." Ting v. United States, 927 F. 2d 1504(9th Cir. 1991). See also

Carlson v. Green,446 US 14(1980)"a violation of the Eighth Amendment proscription against

cruel and unusual punishment giving rise to a cause of action under Bivens...in which it had

been established that in some circumstances the victims of a violation of the Federal

Constitution by a federal official have a right to recover damages against the official in federal

court despite the absence of any statute conferring such right."


       In addition, the Prison Litigation Reform Act("PLRA"),42 U.S.C. 1997e, is not applicable

to this case because I was released from BOP custody on May 9, 2016. See Talamantes v. Leyva

575 F.3d 1021(9t'' Cir 2009)in which it was "undisputed that Talamantes was released from

custody over a year before filing his action in federal court. Therefore, he was not required to

exhaust administrative remedies before filing his action." Even if I had not been released,

administrative remedies have been exhausted. Among my attempts at such remedies was a

Request for Administrative Remedy (Exhibit 2) with attachment (Exhibit 3) marked received on

9/25/2015. After receiving the warden's response (Exhibit 4), I filed a Regional Administrative

Remedy Appeal (Exhibit 5). Eventually, I received a reply from Regional Director Juan D. Castillo

under the ID number 837457-R1 dated 10/9/2015 (Exhibit 7). Unfortunately, I did not receive

my copy of Exhibit 7 until some months later. I eventually filed a BP-11 which was denied on

10/18/2017 while I was in BOP custody on a new unrelated case (Exhibit 17).


       In closing, Bivens gives me the right to sue federal officials in their individual capacities.

My claims are not barred by the PLRA or any other statute.


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                                              VENUE



       This court is the proper venue for suits against federal officers in their individual

capacities for acts taking place at USP Victorville. The defendants themselves most likely reside

in this area or nearby. Unlike an FTCA action I cannot choose my place of residence as the

venue. Doing so would have a result similar to Scinto v. Federal Bureau of Prisons, 608 F.Supp

2d 4(DC Dist. 2009)"Because plaintiff's alleged injuries occurred while he was incarcerated in

North Carolina and prison officials were residents of North Carolina, Bivens claims for damages

against officials in their individual capacities had to be transferred under 28 USCS 1404(a) in

that personal jurisdiction was lacking under D.C. code 13-423 and venue could not be

established within District of Columbia under 28 USCS 1391 (e)."


                                           TIMELINESS


       In Van Strum v. Lawn,940 F 2d 406 (9th Cir. 1991)"the court affirmed the use of the

personal injury statute of limitations for both the Givens and 1983 claims because both required

a uniform, generic, easily applicable limitations period that would safeguard the rights of civil

rights litigants and emphasize the personal nature of constitutional wrongs "because actions

under 1983 and those under Givens are identical save for the replacement of a state actor

under 1983 by a federal actor under Givens." "In determining the proper statute of limitations

for actions brought under 42 U.S.C. 1983, we look to the statute of limitations for personal

injury actions in the forum state." Maldanado v. Harris, 370 F. 3d 945 (9th Cir. 2004)."a 1983



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action filed in California today would clearly be governed by California's new two-year statute

of limitations ...California law provides for the tolling of a statute of limitations for a period of

up to two years based on the disability of imprisonment." Jones v. Blanas, 393 F. 3d 918 (9tn

Cir. 2004). My "actual, uninterrupted incarceration" ended on May 9, 2016. As a result, I have

until May 9, 2018 to file a timely Bivens action in this matter, so my complaint is not

time barred.


                                    SUMMARY OF ARGUMENTS


        At or about 12:40 p.m. on July 29, 2015 on F-Range in the Special Housing Unit("SHU")

at USP Victorville I was assaulted by at least five correctional officers including a supervising

lieutenant. This assault resulted in severe pain and a permanent physical injury resulting in a

scar on my head. The scar reminds me of the beating I suffered every day I look in the mirror.

"We think the Eighth Amendment, which is specifically concerned with the unnecessary or

wanton infliction of pain in penal institutions serves as the primary source of substantial

protection to convicted persons in cases such as this one where the deliberate use of force is

challenged as excessive and unjustified." Whitley v. Albers, 475 U.S. 312(1986). Additionally,

California Penal Codes 240 and 242 permit victims of assaults and batteries to file tort claims

seeking compensation for physical and psychological injuries from the perpetrators of those

evils. The use of torture elevates this case beyond the typical 8th Amendment, excessive force,

assault, and battery case. I am entitled to relief.




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                                    SUMMARY OF EVIDENCE



        The evidence in this case includes 17 Exhibits in my possession and an unknown amount

of evidence in the Government's possession.



                                   -Evidence in my possession



        I n addition to Exhibits I-7 documenting my experience with the BOP's Administrative

Remedy Program as previously described, I also have documents from USP Victorville as well as

regional and national BOP representatives concerning this matter.



        The Discipline Hearing Officer Report("DHO Report", Exhibit 8)dated 10/5/2015 by USP

Victorville Discipline Hearing Officer Diana Elliott("Ms. Elliott") uses memorandums by several

named officers to support an inaccurate version of events that allegedly took place on

7/29/2015. Those officers are the named defendants in this case. The DHO Report describes

(among other things) placing me "on the floor... with the proper force necessary." If things

had ended there, I would not be suing today, but as the DHO Report states, subsequent events

included "a beating and torture" after which I was treated fora "laceration to my scalp,

superficial abrasion to my back, neck,face, and swelling and abrasion behind both ears" and

Officer Luna was treated for "minor abrasion of both thumbs,tenderness of his right hand at

the 2"d joint, right shoulder tenderness" from punching me repeatedly. The DHO Report also

includes confirmation from Lt. Gabby that a surveillance tape exists, but Ms. Elliott omitted

Lt. Gabby's testimony that the tape proves I never elbowed Luna in the face from her report.



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        Knowing that tapes exist, I submitted a Freedom of Information Act ("FOIA") request

that included a letter to the Director of the BOP (Exhibit 9)and a FOIA form (Exhibit 10), my

FOIA request was given the FOIA/PA Request Number 2016-05509 and denied by the Western

Regional Office (Exhibit 11). After receiving an explanation from Regional Counsel Dennis M.

Wong citing the Privacy Act (Exhibit 12), I appealed to the Office of Information Policy (Exhibit

13) and received a final denial from Sean R. O'Neill that said, "If you are dissatisfied with my

action ... file a lawsuit in federal district court." (Exhibit 14, p.2). My tort claim (Exhibit 15)

followed. I demanded $4,000,000.00 in compensation for personal injury and $100.00 for my

glasses. My glasses were also broken (Exhibit 16). While reincarcerated on a separate matter,

 received a denial of my BP-11 (Exhibit 17).



                               II-Evidence in Government Possession



       The Government should have at least two video tapes and an unknown number of

documents in their possession. I plan to seek information in accordance with Federal Rules of

Civil Procedure regarding discovery.



       The first tape should include the beating I suffered on F-Range in SHU at USP Victorville

on July 29, 2015 at 12:40 p.m. at the hands of S.O.S. Luna. There could be two tapes because

F-Range might have more than one camera and other parts of SHU have cameras. I know that

at least one surveillance tape exists because Lt. Gabby admitted to viewing it (Exhibit 8, p.1).



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The Government has tried really hard to keep me from getting a copy since my release (Exhibits

11, 12, 14), and before I got released a man known to me as SIA Alvarez promised to review

Lt. Gabby's copy as part of his internal investigation (Exhibit 9).


        The second tape is of my medical examination on 7/29/2015. It begins with me being

forced to walk from Observation Room 1 in the SHU to medical in bone tight shackles and cuffs.

The walk normally takes about thirty seconds, but it took me about six minutes due to pain.

know it exists because on or about April 7, 2016 a man from SIA came to see me. He identified

himself as SIA Alvarez and said that he had seen the tape. After I got released I contacted him

at (760) 530-5700 ext. 5869, his office at the FCI II (Exhibit 9)and he recommended that I use

FOIA to get a copy but obviously that did not work.


         believe SIA Alvarez to be in possession of his internal investigation work product. That

work product should include copies of both tapes. It may also explain why Lt. Williams was

transferred in April 2016.


         believe that USP Victorville, the Western Regional Office, and other BOP offices have

other documents pertaining to this matter. They should also have original copies of all my

grievances and the memos mentioned in the DHO Report.


       In accordance with Fed. R.Civ. P. 34, I will be requesting copies of all video tapes and

other documents pertaining to this matter that the Government possesses in the future. If that

fails, I will try to use this court's subpoena power to compel production.


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                                     FACTUAL BACKGROUND



       On July 29, 2015, I was a BOP inmate assigned the number 74918-065 and incarcerated

at USP Victorville. Within USP Victorville, I was further confined to the SHU because I was

under investigation for unrelated accusations and a disciplinary hearing was pending. I was

assigned to cell 260 on F-Range and my cell mate was Anthony Digiosaffatte (74354-053).



       After being served lunch the guards wanted to search our cell because we did not return

the plastic covers to our razors that had been flushed down the toilet. They never wanted the

covers before, so we were surprised when they pulled us out to search. Digiosaffatte and

stood facing the wall in the hallway with our hands cuffed behind our backs. After failing to

find our flushed razor covers, they took some of my pens. Technically, I was not "supposed" to

have those either, but they were never a problem before and I objected to their seizure.

objected because l was representing myself in proceedings filed under 28 U.S.C. 2255 ("Section

2255") in the District of Oregon and needed the pens for future motions. See United States v.

Sullivan, 2016 U.S. Dist. Lexis 11233(D.0 ORE 2016). As I objected I refused to move when Luna

told me to go back into the cell. Luna then twisted my wrist, I let out a slight yelp, and elbowed

him back in the chest while calling him a "fucker".



       What happened next was largely documented in Exhibit 6 but I will re-tell the story

here. I just want to note for the records that I wrote down what happened the next day and




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eventually typed up what became Exhibit 6,so even though the document is dated 10/8/2015

it was drafted much earlier.


        Luna called me a "piece of shit", shoved me down the hall a ways, and took me to the

ground before Oeltjenbruns and Olmos piled on top of me. If things had ended there I would

not be suing today. We had both overreacted. I had elbowed Luna in the chest and they had

the right to use reasonable force to take control of me. I consider having one guy take an

uncooperative inmate to the ground while others pounce on his body and legs to keep him

from moving to be reasonable under the circumstances. Had I been injured as a result I would

blame myself for that. Unfortunately, subsequent unreasonable actions resulted in my injuries

and this lawsuit.


       As Pedraza stayed back at the cell with Digiosaffatte, Luna punched me in the head

repeatedly. Oeltjenbruns and Olmos may have punched me too but I was face down on the

floor and could not tell if they joined in. I kept apologizing for my prior conduct and begged

them to stop, but they just kept yelling "stop resisting!" as a cut opened upon my head and

Luna kept hitting me.


       Eventually Lt. Williams arrived on the range and I hoped that he would restrain his

subordinates, but instead he encouraged them and joined in himself by saying stuff like, "you

m ust be the stupidest fucking white boy I know."




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            was then taken to Observation Room 1 for what can only be described as a sadistic

 combination of torture and battery for corporal punishment purposes. The only possible intent

 of which could have been to cause harm. Lt. Williams, Oeltjenbruns, Luna, and Olmos threw

 me face down onto a concrete slab, ripped off my jumpsuit, and began torturing me.

 Oeltjenbruns twisted my knee and ankle up against my back and buttocks while Olmos yelled

 "break it" for several minutes. It hurt so bad I thought my ankle was going to break.


           Finally, my ankle was freed, but only because they wanted to apply bone tight restraints

 to my hands and legs. They turned me around and sat me up on the edge of the slab. Lt.

 Williams then put cuffs on my hands that were bone tight and added a "black box" on top of

 them. As he did that, the others applied bone tight shackles to my legs. Lt. Williams told me to

 stand up, but I fell back into a seated position on the slab due to the pain of the shackles. Lt.

 Williams then punched me in the face and said, "I told you to stand!", so I managed to stand.

 Eventually they left me for the next shift to find. I spent at least thirty minutes in agonizing pain

 as I lost feeling in my limbs. The cuffs and shackles were so tight that they couldn't be adjusted

 at all.


           When the next shift finally arrived, they refused to loosen my restraints. They said that

 only Medical could have them loosened, but I would have to walk there first. As I walked in

 excruciating pain, I took at least six minutes to travel what is normally a thirty second walk.

 noticed an officer videotaping me on the way there and he taped my medical exam,so I told my

 side of the story for the camera. The medical PA-C Bridggitte Wolverton said that my restraints


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  were too tight and they were finally loosened.


         For the record, Wolverton and I do not get along. She had me put back in the SHU a

 couple of months later for threatening to expose her incompetence online. A threat that I have

 since carried out. Working with heron almost every other occasion was a nightmare but at

 least she got things right that time,for which I am thankful, and I can say that even Wolverton

 could tell that those restraints were too tight.


         After my exam, I was fortunate that the inmate orderly (Robert Hunter)found my

 pancaked glasses in the trash. Otherwise I would have had to do the rest of my time blind.

  tried to get them fixed (Exhibit 16), but they never were.


         In September 2015, I was found guilty of violating a BOP rule against assault for

 throwing an elbow. As the DHO Report shows, I was falsely accused of elbowing Luna in the

 face and Ms. Elliott left out the video evidence that no elbow hit his face. I believe that Luna

 either faked injuries, injured himself, or had himself injured by a buddy to get paid time off

 work. The F-Range video should prove Luna's guilty of workers compensation fraud against the

 U nited States.


          pursued administrative remedies but was blown off for the most part (Exhibits 2-7).

 Finally, on or about April 7, 2016, SIA Alvarez came to see me. At that time I was back in the

 SHU for allegedly introducing contraband. Alvarez said that if true my allegations would

 constitute staff misconduct. He also agreed that even if I had slipped my cuffs on F-Range as


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 alleged (I did not slip my cuffs.) and elbowed Luna in the face, that would not justify hitting me

 in the head once I was on the ground, compliant, restrained, and helpless. I told him to get the

 F-Range video from Lt. Gabby and after I got out he confirmed that he had a copy of the tape

 but that he would not give me a copy and I would need to-file a request with the BOP under

 FOIA to get a copy.


        Before my release and after speaking with Alvarez, I asked Lt. Williams an unrelated

 q uestion to which he responded with something to the effect of "I am not speaking to you

 anymore, Sullivan, I heard you filed some bullshit on me, you know I never disrespected you

 like that." His response was clearly more for other inmates to hear than me and I responded by

 saying "Yes, you did." I have not seen Lt. Williams since. A couple of weeks later a new SHU

 lieutenant showed up and said that they had "gotten rid of Lt. Williams." I later heard a rumor

 that he had been spotted working across the street at the FCI II but that has not been

 confirmed. I suspect he was transferred due to his misconduct. "Gypsy Cops" like him are

 common in the BOP. They get into trouble and are moved from prison to prison. Lt. Williams

 seemed like he liked his job too much to just leave, there had to be a reason.


        After my release I tried to get copies of the videos via FOIA (Exhibits 9-14) with the hope

 of showing them to lawyers and getting one to take my case on contingency. Knowing how

 long it would take to pursue a FOIA lawsuit as Mr. O'Neill suggested (Exhibit 14) and sensing the

 statute of limitations on my tort claim approaching, I decided that this lawsuit would be more

 productive.


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                                            ARGUMENTS



        Lt. Williams, S.O.S. Luna, Oeltjenbruns, Olmos, and Pedraza willfully used excessive force

 i n violation of the 8th Amendment when they assaulted, battered, and tortured me. The force

 used was excessive to the point of violating the 8th Amendment's prohibition on cruel and

 unusual punishment because it was not done as a good faith effort to maintain or restore

 discipline, but maliciously and sadistically for the purpose of causing harm. All in violation of

 my constitutional rights and California law. Pedraza's failure to intervene is equally

 unconstitutional.



                                       1. 8th Amendment Claims



        Excessive force jurisprudence has focused primarily on determining what reasons for

 using force constitute cruel and unusual punishment in violation of the Eighth Amendment.

 The focus is on the intent of the actor and not so much the amount of force used. In Whitley

 the Supreme Court held "It is obduracy and wantonness, not inadvertence or error in good faith

 that characterize the conduct prohibited by the cruel and unusual punishments clause... The

 infliction of pain in the course of a prison security measure, therefore, does not amount to cruel

 and unusual punishment simply because it may appear in retrospect that the degree of force

 authorized or applied for security purposes was unreasonable, and hence unnecessary in the

 strict sense... We think the question whether the measure taken inflicted unnecessary and

 wanton pain and suffering ultimately turns" on the position previously taken by the Second



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 Circuit in Johnson v. Glick, 481 F.2d 1028 (2~d Cir. 1973) which was "Whether force was applied

 in a good faith effort to maintain or restore discipline or maliciously and sadistically to cause

 harm." I can think of no better example of such conduct than the beating and torturing of a

 defenseless prisoner.


         feel like my case is a combination of factors similar to those in Hudson v. McMillian,

 503 U.S. 1(1992)and Hope v. Pelzer, 536 U.S. 730(2002). In Hudson an officer places an

 inmate "in handcuffs and shackles, took the prisoner out of his cell and walked him toward the

 penitentiary's 'administrative lockdown' area ... on the way there,[the officer] punched [the

 inmate] in the mouth, eyes, chest, and stomach while [another officer] held the inmate in place

 and kicked and punched him from behind ...the supervisor on duty, watched the beating, but

 merely told the officers 'not to have too much fun'... As a result of the episode,[the inmate]

 suffered minor bruises and swelling of his face, mouth, and lip... The blows... are not de

 minimis for Eighth Amendment purposes...Punishment 'incompatible with the evolving

 standards of decency that mark the progress of a maturing society' or 'involving the

 unnecessary and wanton infliction of pain' are repugnant to the Eighth Amendment ...'to

 deny ...the difference between punching a prisoner in the face and serving him unappetizing

 food is to ignore the 'concepts of dignity, civilized standards, humanity, and decency'that

 animate the Eighth Amendment." In this case, like in Hope "We may infer the existence of this

 subjective state of mind from the fact that the risk of harm is obvious ...Any safety concerns

 had long since abated by the time petitioner was handcuffed to the hitching post because [the




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 inmate] had already been subdued, hand cuffed, placed in leg irons, and transported back to

 the prison ...Despite the clear lack of an emergency situation, the respondents knowingly

 subjected him to a substantial risk of physical harm." Like in Hudson I was beaten while in

 restraints and a supervisor "expressly condoned" the abuse. Like in Hope the abuse took place

 after "safety concerns had long since abated." There are times when striking an inmate to gain

 control is reasonable, but it is hard to think of a more unreasonable act than striking a subdued

 inmate that has been placed in restraints, is cooperative, and totally helpless.




        The fact that I was tortured in the Observation Room after the beating couldn't make

 their intentions more obvious. Their actions served no penological interests beyond the use of

 corporal punishment to deter future insubordination. Corporal punishment has been illegal

 for a long time because "corporal punishment is easily subject to abuse in the hands of the

 sadistic and unscrupulous ...[it] creates other psychological problems and makes adjustment

 to society more difficult". Jackson v. Bishop, 404 F. 2d 571 (8th Cir. 1968). Such conduct

 violates clearly established federal law in this circuit "Physical restraint will not be used as

 punishment...nor will restraint equipment be applied in any way so as to inflict physical pain

 and undue physical discomfort, or to restrict blood circulation." Spain v. Procunier,600 F. 2d

 189 (9th Cir. 1979). "Punishments of torture or unnecessary cruelty are forbidden by

 Constitutional provision against cruel and unusual punishments." Wilkerson v. Utah,99 U.S.

 130(1879). Such conduct has long been considered a violation of "a clearly established




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 constitutional right 'of which a reasonable person would have known,' Harlow v. Fitzgerald, 457

 U.S. 800(1981)." Watts v. McKinney, 394 F. 3d 710 (9th Cir 2009)also saying "to suppose that a

 reasonable person, let alone a trained police officer, would not know that kicking a helpless

 prisoner's genitals was cruel and unusual conduct is beyond belief."


                                   2. State Law Assault and Battery


     In case this court somehow finds the guards' conduct in my case constitutional, Iwant to

 make a state law claim as backup,"under California Law, a plaintiff bringing a battery claim

 against a law enforcement official has the burden of proving the officer used unreasonable

 force." Bowoto v. Chevron Corp,621 F. 3d 1116 (9th Cir. 2010). Since the force used was

 obviously unreasonable,then proving my claim would meet the requirements to sustain a

 battery claim against law enforcement officers in the state of California. "The elements of a

 battery claim in California are that(1)The defendant intentionally did an act that resulted in

 harmful or offensive contact with the plaintiff's person. (2)The plaintiff did not consent to the

 contact, and (3)The contact caused injury, damage, loss, or harm to the plaintiff." Tekle v.

 United States, 511 F. 3d 839 (9th Cir. 2005). The defendants in my case acted intentionally, I did

 not consent to the contact, and I was injured.




                                       3. Failure to Intervene


        Officer Pedraza had an obligation to intervene. The others did too, but they joined in




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 while Pedraza appears to have stayed back with Digiosaffatte. See Smith v. Messinger, 293

 F.3d 641 (3~d Cir. 2002)"a corrections officer's failure to intervene in a beating can be the basis

 of liability ... if the corrections officer had a reasonable opportunity to intervene and simply

 refused to do so. Furthermore, we hold that a corrections officer can not escape liability by

 relying upon his inferior or non-supervisory rank vis-a-vis the other officers."




                                        4. Permanent Injuries



        In Hudson the Supreme Court made it clear that although injury is not required to prove

 an excessive force claim, it is still relevant because it can better demonstrate the perpetrators'

 state of mind. In my case, even though my permanent physical injury is cosmetic, it still results

 in daily psychological pain. The location of the scar being on my head directly above my

 thinning hairline makes it much worse than it would be on just about any other place on my

 body. I have bad memories that come flooding back whenever I see it. Most people barely

 notice it at all, but for me I see what happened every day and I do not like that.


                                            RELIER SOUGHT



         am seeking compensatory and punitive damages.


                                      1. Compensatory Damages



         am asking for $4,000,000.00 in compensation from each of the five defendants.




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 That amount is based largely on media research of settlements and judgements in other

 excessive force cases. That might sound excessive, but it pales in comparison to the

 $22,000,000.00 awarded by a jury to a man shot by police and paralyzed in Simmons v.

 Bradshaw, 2018 BL 8509, 11th Cir., No. 16-10876. I may not be paralyzed, but I still have an

 injury that I will always have to deal with unless some cosmetic procedure can fix it. Even then

 will never be free of the awful memories.


                                           2. Punitive Damages


            In Carlson the Supreme Court described the benefits of a Bivens action over a FTCA

 action "(i~The Bivens remedy, being recoverable against individuals, is a more effective

 deterrent than the FTCA remedy against the United States; (ii)a plaintiff cannot opt for a jury

 trial in an FTCA action as he may in a Bivens suit ...punitive damages ...are especially

 appropriate to redress the violation by a Government official of a citizen's constitutional

 rights."


            can think of no better reasonable deterrent than an award of $4,000,000.00 in punitive

 damages against every defendant in this case. It will send a message to every prison guard in

 America that thou shalt not beat or torture thy prisoner,for if they do, the court will strike back

 at them with great vengeance and furious anger that will result in financial ruin.




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                         NOTICE OF INTENT TO AMEND OR SUPPLEMENT



        Fed. R. Cv. P.15 ("Rule 15") provides a number of options for amending or

 supplementing pleadings. I have a good idea what the video tapes should show, but I don't

 know what other Government documents might reveal in the discovery process. I may ask this

 court for leave to amend or supplement under Rule 15 and I hope that this notice minimizes

 any prejudice that the other parties might claim.



                                            CONCLUSION



         suffered permanent physical injury that has led to ongoing psychological injury as a

 result of assault, battery, and torture by the named defendants in violation of the cruel and

 unusual punishment clause of the Eighth Amendment of the Constitution. The defendants

 are liable and I am entitled to compensation as well as punitive damages. I demand a jury trial

 so that the deepest depths of their depravity can be explored.




         declare under penalty of perjury that the foregoing is true and correct.



 Executed on       ~~( I~                                            ~,.




                                             Cyrus Andrew Sullivan
                                             Plaintiff-Pro Se




                                            Page 19 of 19
Case 5:18-cv-01029-VAP-SHK Document 1 Filed 05/11/18 Page 20 of 52 Page ID #:20



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        ""r °f~                                          U. ~. Deparhnent of Justice
                                                         Federal Bureau ofPrisons
                                                         Los Angeles Consolidated Legal Center

                                                         Metropolitan Deten~on Center Los Angeles
                                                         535 K Alameda Street
                                                         Los Angeles, CA 90012


DA`C'E 11'fAILED: t~C % y ~~'~ ~
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Certified Receipt: 70151660 000017916398
      ~~:
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 :~'.°~_: .::    ' ew
                   ~.., Sullivan
 ~ 3~v:<7~~18-065
 12           ~'~4fth Avenue
.~ortl_,a~d_,...QR.972.15,


R,~~-~•~;,~~~str~tive Claim No. TRT-W~-2017-01844




Th s~ s3n response to the a~m~n;~~ve claim you submitted asserting four distinct claims arising
Qut-o~~~o-ur incarceration z± the United Stz.#es Penitentiary ~ictorvi.~?e E"~JIP"f, ~aLifar~a.
     -~~
 ~i s~`~~iu~see~ $1fl0:00 in monetary damages compensation. Specifically, yon claim that staff
.d~ag~d.your paar'of eyeglasses during an incident that occurred on Duty 29, 2015. This portion of
 your claim was considered under 31 U.S.C. § 3723. An investigation into this portion of your claim
 was conducted and completed. A review ofthe interviews conducted with staff confirms that staff
 i~ii~~i~ot ~am~.ge ~iiy pairs of eyeglasses during the incident that occurred an July 29,2015. As a
 result, you have neither set forth a factual basis for holding t}ie United "States liable under 31
 IIa.S
    ,
       rG.. ~_~3723 nor established that you suffered any compensable damages.
   -:`".

This lever,i~ a denial,of your personal properly claim. You cannot file suit in an appropriate U.S.
Dist~cf.C,ourt a.S theLe is no judicial review for claims decided pl7rc,~ant to 31 U.S.C. § 3723. You
inay z~quest, in writing,that the Bureau reconsider your claim. Your request for reconsideration
must ~~,submit~ed.wittvn three months ofthe date ofthis letter. You must include additional
evid~uce ofthe ,damage ofloss to support your request for reconsideration.

 In.additio~ .you seek.$4,000,000.00,in monetary damages compensation. Specifically, you claim
 that staff,assaulted you on Iuty 29,2015. Additionally, you claim t}~at you suffered a laceration on
 dour~ead~ reeve damage in your left hand, a toe fracture, aggravated shoulder injury and pa,n
     ~ ,.
'I~e~~.gency considered this porb.on of your claim separately under the provisions ofthe Federal
 Tort ~la~s Act,,28 U.S.C. §§ 1346,2671, et sect. An investigation into your claims was conducted
 andcompLeted..Th~
    -. ,.,,                 investigation fails to disclose any evidence of negligence for which the United
 States is.,liable. You have failed to establish that you have suffered an injury as a result of staff
 negligence . _ .~ inthis matter.
 Case 5:18-cv-01029-VAP-SHK Document 1 Filed 05/11/18 Page 21 of 52 Page ID #:21
                                     ~ ~ e i~~
 Cyrus Sullivan, Reg. No. 74918-065
 Administrative Claim No. TRT-WXR-2017-01844

Acco~diiigiy, this portion of your claims i.s denied.. If you are not satisfied with the determination of
this porEion of your claim, you areafforded s~ months from the date ofthe mailing of this letter
'via certified mail in which to bring suit in the appropriate ZJnited States District Court.
     ~f`    _
 Sincerely,

                    •-~.•       __

              V



 E~iezer Ben-Shmuel
 S~zge~v ~Qry.Attorney
           Wong..- _.. . ~ .     .~ .
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             Case 5:18-cv-01029-VAP-SHK Document 1 Filed 05/11/18 Page 22 of 52 Page ID #:22




                                                                                                                        SIGNATURE OF REQUESTER
                 DATE

Part B- RESPOI~TSE




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                                                                                                                                            SEP 2 ~ 2QS5
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                                                                                                                                  ,
                                                                                                                                  ~ av
                                                                                                                    WARDEN OR REGIONAL DIRECTOR
                 DATE
                                                                             Poar appeal must be received in the Re~ionn! Ot~ice rvfihin 20 calends days ofthe date of this   response
,jf diss~isfied with this response, you may appertl w the Regional Director.
                                                                                                                        CASE NUMBER:`.' -                  `~
  Tf~IRD COPY: RETURN TO INMATE

                                                                                                                        CASE NUMBER:

 Part C- RECEIPT
Return to:                                                                                       REG. NQ.                           TJNIT                       INSTITLTITON .
                       LAST I~iAl~., FIRST, I~~DLE INIT'LAL

SU~STECT:                                                                              -
               Case 5:18-cv-01029-VAP-SHK Document 1 Filed 05/11/18 Page 23 of 52 Page ID #:23


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Case 5:18-cv-01029-VAP-SHK Document 1 Filed 05/11/18 Page 24 of 52 Page ID #:24

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Request for Administrative Remedy
Cage No.: 836846-F1

This is in response to your Request for Administrative Remedy received
in this office on September 25, 2015. In your request; you allege
on July 29, 2015, staff assaulted and tortured you. As relief, you
are requesting monetary compensation and for all surveillar_ce footage
be turned over to you or counsel at a later date.

The Bureau of Prisons takes allegations of staff misconduct
seriously. Staff are held to a high standard of treating inmates
fairly, impartially, and human.el~. Your allegations will be
reviewed, and if it is determined an investigation is warranted,
it will be referred to the proper investigating authority. I~owever,
information concerning staff conduct and performance is protected
by the Privacy Act, 5 USC §552a. Therefore, you will not be provided
information regarding the outcome of arty review or investigation.

Program Statement 1330.17, Administrative Remedy Program, paragraph
c, notes there are statutorily-mandated procedures in place for
filing an administrative tort claim. Any claims for inmate accident
compensation claims must be filed in accordance with the Federal
Tort Claims Act. Yau may obtain the appropriate forms by submitting
an Inmate Request to Staff through yaus unit team.

 Accordingly, your Request for Administrative Remedy is for
 informational purposes only. If you are dissatisfied with this
 response, your appeal must be received by the Regional Administrative
 Remed}r Coordinator, Federal Bureau of Prisons, Western Regional
 Office, 7338 Shoreline Drive, Stockton, CA 95219, within twenty (20)
 calendar days from the date of this response.




  ichard B. Ives, Complex Warden             Date
                                                    y~
                    Case 5:18-cv-01029-VAP-SHK Document 1 Filed 05/11/18 Page 25 of 52 Page ID #:25

                                                          ~;~,~~,                   Regional Administrative Remedy Apgeai
V.S. Department of justice
                                                                                        -~,rC,.-~      ~~2L~ /~~ ~                      ~Z1 1-{'~ ~iy-`
 Federal Burrau of Prisons         ~G ~.         ~,.~ C.•~'t' ~,`~'i

                                                                                                              )         g any attachments mutt be submitted
                                                       submit Foui copies. One copy of the completed BP-229(13 includin
Type or use ball-point pen. If a!tachmen~s are needed,
H~ith this a peal.
                                                                                              ~         ~~                    v~~ V ~~kOn~I -~
                                       ~U`'~       ~              ~ ~~-((£]
From: ~~-~ 1 '~+ G-~                                                            REG. N0.                     UNIT                     W3TITUTION
                   LAST NAME.FIRS ,MIDDLE iNITiAL

 Part A - REA50N FOR APPEAL.




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             G'~`Sr      ~ = 1 ~ (L-~ •-•`-Cii l

                                                                                                                   ~~~--
                            ~
                                                                                                                  SIGNATURE OF RfiQUESTER
                     DATE

  Part B -RESPONSE




                                                                                                              SEP ,; 0 201




                                                                                                                        REGIONAL DIRECTOR
                       DATE
                                                                                       appeal must be receive d in the General Counsel's Office within 30 calendar
                                                          to the General Counsel. Your
       If dissatisfied with this response, you may appeal
       days of she date of this response.
                                                              _—`_ _~_             "                                CASENUMBER~~,~~~~~
       O RIGINAL: RETURN TO INMATE

       Part C - RECEIF~                                                                                            CASE NUI~4B ER:


       Return to:                                                                           REG. N0.                        UNIT                    INSTIfiCTTION
                                LAST NAME,FIRST, N~DLE INITIAL.
       SUBSECT:
Case 5:18-cv-01029-VAP-SHK Document 1 Filed 05/11/18 Page 26 of 52 Page ID #:26


                     ~~~L~~- ~
           7/29/2015 Ass«ult and Torture Incident Report

     On July 29, 2015 at 12:40 pm I was standing handcuffed and
facing the wall, on F-Rage in the Special Housing Unit (SHU) at
                                                             ms, Officer
U SP Victorville outside of ce11 260. Lieutenant Willia
S. Luna, Officer  Petraz a, and  at  least  two  other  officer s were
collecting razors in SHU.   Usuall y  just  giving  them  back  the razo-
rs is enough, but that time   they   wanted  every  little  part   of them
                                covers , but  two  of  ours had  been  f1-
including the little plastic
ushed down Lhe toilet, .so they   cuffed  up  my  celly  (Antho ny  Digio-
saff.atte 74354-053) and I before putting us in the hallway to
search for the covers.

    During their search they found a few items they said were co-
ntraband. Specifically `some food trays, a laundry bag, and a flex
pen. The flex pen had beep given to me .with my hygiene items when
I got there. I believed that I had a right to a flex pen for the
purpose of writing motions for the court because I had previously
been told by staff that people with active cases can have flex
pens in SHU. They said that only pencils are allowed in SHU and
if I wanted a pen I could only use it in the SHU law library.
                                                               li-
That would have been fine if I could have gotten into the law
brary and stay long enough to write a motion, but  I_was never al-
lowed in there.

    While trying to persuade them to give me my pen back Luna
was holding my hands and suddenly twisted my wrist hard enough to
cause physical pain. His attack was needless and with no warning
at a time when the mere threat of force would have been enough to
persuade me to go back into my ce11. When I reacted defensively
                                                                    of
to his aggression out of natural reflex he called me a "piece
shit" and threw me to the   ground where I  stayed  lying prone,-  face
                                                                  the
down, and still with my hands cuffed behind my back. All of
                            a, who had stayed  back  with Digios  affa-
officers except for Petraz
                                                                  phys-
tte, piled . on top of me. At that point they had used allthe
                                     l of  me. For  the record  I  have
ical force necessary to take contrp
                                     result  I do  not respon d we11
Asperger's Syndrome and PTSD. As a
                                                             especial-
to sudden physical contact, especially from behind, and
ly when it causes physical pain.
                                                                in my
     What followed was the worst beating I've ever received
                                           in  the  head  repeat edly
Life. Luna and possibly others punched me
                                            head   split  open.  There
and wouldn't stop even after the top of my
                                          kept  yelling   stuff  1i.ke
was blood all over the: floor and wall. I
                                         't help   it",  but  they j~n-
"I'm sorry" and "I have autism, I couldn                       lly Lt.
st kept hitting me while yelling "stop resist ing".   Eventua
                                                          the attack
Williams, who had left. the range briefly right before         he only
                                              help   me,  but
started, returned to F-Range. I asked him to
                                               other  things   "you
e ncouraged my attackers further saying among
must be the stupidest ducking white boy I know".



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                       t~L L~ ' l


     Then they took me down to Observation Room 1 where Lt. Willi-
ams and the other officers threw me down on a big concrete block
face down. Then they ripped off my jumpsuit, shoes, and socks.
Then . one of them put me in an ankle restraint hold causing pain
in my left knee and ankle as I was telling them that I could not
breathe. At one point I thqught they were going to break my~ankle
because one of theme kept yelling "break it". Then they put~ shack-
1es and cuffs..on me with a black box. The restraints were bone
t ight. So fight I could not stand without excrutiating pain as my
hands and feet turned purple. Then Lt. Williams punched me in the
face for falling after trying to stand up for not staying still.
After that they left me in there for at least 30 minutes of cont-
inuous and excrutiating pain.

     Finally some other officers came by after shift change. When
I complained of the pain they said that I could only get the res-
traints loosened after I went to medical. I was then forced to
slowly walk down to medical in my underwear and barefoot with ---
every .- s~ep~causing unbearable pain. Once in medical P.A. Wolvert-
                                                                                  ~ ~
on cleaned off blood that covered my entire face and told the
o fficers to 'loosen my restraints because they were way too tight.
I made sure to document the assault and torture on camera as an
officer taped my medical exam.

      After that I was lucky that the inmate orderly (Robert Hunter
    found my glasses in the trash or I would be blind right now.
 S till, they look like someone intention ally stepped on them beca-
 use they look pancaked with scratched lenses and a missing nose
 pad. Fortunately the hinges are fine, so I can wear them, but th-
 ey fall off easily and one of the lenses pops out~with minimal
 f orce.

      In September (the:,9th I believe) I went before Disciplinary
 Hearing Officer (DHO)~Elliott falsely accused of elbowing Luna
 in the face as he was twisting my wrist, but was still found
                                                                 Lt.
 guilty of staff assault because after reviewing the tape
                                         in  the  chest,   which  I did.
 Gabby said that I clearly elbowed him
                                   surveil lance  tape  on  F-Ra nge.  Lt.
 I was never allowed tb view the                                 wrist,
                                     to the   twistin g of  the
 G abby said it was inconclusive as
                                                            a handcuffed
 which is entirely possible since it is easy to twist
 wrist without the motion being obvious    on  camers.  When   asked abo-
                                            didn't   want  to  get into
 ut the beating Lt. Gabby seemed like he
                                               type of  people   Lt.  Gab-
 it and downplayed the footage. Giving the                               to
                                              how he  would   not want
 by works with .every day I can understand
                                                                      '~:
 go against them.
                                                                ing
      On 9/20/2015 I filed an official BP-9 complaint request
                                             counsel  at  a later  date
 monetary compensation to be determined by
                                                   been  told by Lt.
 and for all footage to be saved. I had already
                                                  I'm not sure about
 G abby that the F-Rangy footage was saved, but
                                                   of SHU. The medic-
 f ootage .from Observation Room 1 or other parts
                                                          received a
 al exam footage should also be saved. On 9/28/2015 I
                                                          saying that
 generic response from complex warden Richard B. Ives
                                                          not have
 the incident would be investigated, but that I would
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                       ,~`~~~~
access to the result of the investigation due to the Privacy Act
(5 U.S.C. 522a).

    Today I have a nasty scar on the top of my hear right above
the hair Line that is only slightly covered by my ever thinning
hair. It serves as a constant reminder of what happened every
time I look in the mirror and I feed like my PTSD has gotten
worse. I have yet to regain fu11 feering in my left hand due to
the bone tight cuffs aid black box. If I touch my wrist where the
cuff was I get a weird, sometimes painful, shooting sensation.
That also serves as a constant reminder of what happened. I've
also re-aggravated an old shoulder injury and have limited range
of motion as a result. I also believe that I suffered a minor
fracture in my left foot and still experience pain in the joint
between my foot and big toe. At my DHO hearing P.A. Wolverton
testified as to the contents of her medical report and all the
injuries to my head were well documented. They included the cut
as we11 as bruising all around my face and head along with cuts
to my ears. Even if the surveillance footage does not show the
assault well or at all, the medical report makes it obvious that
something happened and I believe that the report by itself proves
my story beyond a preponderance of the evidence.

    I believe that these officers, especially Luna, are guilty of
aggravated assault and torture. Lt. Williams is culpable becau~e~
he had command responsibility and contributed with his own cond-
uct. Warden Ives had command responsibility also. I would like to
pursue a battery lawsuit seeding compensation for my pain and
suffering as we11 as punitive damages in addition to anything =....
else I am entitled to as a victim.

     I swear under penalty of perjury that this statement is true
 and accurate to the best of my knowledge..
     r




 Cyrus Sullivan
 74918-065
 United States Penitentiary
 P.O. Box 3900
 Adelanto, CA 92301                                                     r




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          Case 5:18-cv-01029-VAP-SHK Document 1 Filed 05/11/18 Page 29 of 52 Page ID #:29
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837457-R1
FCC Victorville

You are requesting administrative relief regarding the decision of the Discipline Hearing Officer(DHO)on
September 9, 2015, in which you were found to have committed the prohibited act of Assaulting any Person without Serious
Injury, Code 224. You make several claims which will be addressed below. For relied it appears you wish to have the
incident expunged from your discipline record and the sanctions reversed.

On appeal, the appropriate reviewing authority shall consider: a Whether the UDC or DHO substantially complied with the
regulations on inmate discipline; b. Whether the UDC or DHO based its decision on same facts, and if there was conflicting
evidence, whether the decision was baseri on the greater weight ofthe evidence; and c. Whether an appropriate sanction was
imposed according to the severity revel ofthe prohibited act, and other relevant circumstances.

,A review ofthe disciplinary action indicated that you were provided due process as required by Program Statement 5270.09;
                                                                                                                          to
Inmate Discipline Program. You were given advanced written notice ofthe charges against you more than 24 hours prior
                                                                                                                         You
 your appearance before the DHO. You were afforded the opportunity to have staff representation and to call witnesses.
                                                                 to make  a statement to the DHO  and present documentar y
 waived both ofthese rights. You were afforded the opportunity'
 evidence on your behalf. Your admission has been addressed by the DHO and reflected in the record. There is indication in
 the record that you presented documentary evidence and this was considered by the DHO.
                                                                                                                          of
The DHO report clearly indicates the basis for the finding that you committed the prohibited act and explains the purpose
imposing the sancrions which are within policy.
                                                                                                                           at the
You claim you are innocent ofthe charge. Bureau ofPrisons policy directs the DHO to consider all evidence presented
hearing and to make a decision based on some facts, and if there is conflicting evidence, to base the decision on the greater
weight ofthe evidence. It is apparent that the DHO found you guilty based oa the greater weight ofthe evidence. Evidence
                                                                                                                          packet,
weighed against you included the account of the reporting officer, the documentary evidence contained in the discipline
                                                                                                                      by your
and your admission to the DHO. Such evidence supports the fact that you assaulted staff. This zvidence, coupled
                                                                                                             the DHO to a guilty
inability to produce credible and verifiable evidence which exonerates you from the charge, reasonably led
finding.
                                                                                                           read, 7/29/15.
You claim there is an error on the DHO report. Specifically, section 13 reads, "7/29/1 S". It should have
                                                                                                                 the charge
We find that to be an oversight in the preparation ofthat order. Regardless, that order has no bearing regarding
levied against you.
                                                                                                                  tested.
 You request an independent review ofthe video evidence. You do not have the right to have evidence independently
                                                                                                                   indicate your
 Amongst the documents you submitted in your appeal we note you present new evidence for consideration. You
                                                               Inmates are afforded the opportwut~ to present or request
 mental health status was a factor leading up to this incident
                                                                                                                         to
 evidence for review or consideration at the UDC or DHO hearing, not during the appeal process. This is not the forum
 request such action.

 T actly, you allege staff misconduct, The Bureau ofPrisons takes allegations of misconduct seriously, and makes every
                                                                                                                          if
 attempt to hold staff to the highest standards. As a result, your allegations of staff misconduct will be reviewed, and
                                                                                                matters  are protected by the
 necessary, referred to the appropriate department for fiuther actifln. However, as personnel
 Privacy Act, we are unable to disclose anything further.
                                                                                                                        your
 T'he allegations presented in your request for refief have been investigated and determined to be without merit. Thus,
 request for relief from the discipline action or sanctions is denied.     `

                                                                                                                     Street, I~TVJ,
 Lf dissatisfied with this response, you may appeal to the Office ofthe General Counsel, Bureau ofPrisons, 320 First
                                                                                                                           date of
 ~Jashington, D.C., 20534. Your appeal must be received in the General Counsel's Office within 30 calendar days of the
 this response.
             Case 5:18-cv-01029-VAP-SHK Document 1 Filed 05/11/18 Page 30 of 52 Page ID #:30



3~-~a~oa                 DISCIPLl~~E HEARING OFFICER REPORT cnF-Rrvt
                                       ~ I `~~,`iiC COf ~~ ~DERAL BUREATJ OF PRISONS
u ~.IDEPAR'~MENT OF JUSTICE

', Institution:                USP Victorville               Incident Report Number:               2748458

 NAME OF INMATE:               SULLNAN,Cyrus                 REG NO.: 74918-065             ~TT~

 Date ofIncident Report:        07-29-2015@2:SOPM            Offense Code:       224

  Date ofIncident                07-29-2015@12:40PM

  Summary of Charges: ~~ A.ssavl~ng A.ny Person

  L NOTICE OF CHARGEO

  A. Advanced written notice of charge(copy ofIncident Report) was given to inmate on

 (date)           08-11-2015           at(time)     6:32PM       (by staff member)          K. Bowles, Act Lieutenant

  B. The DHO Hearing was held on(date)                    09-09-2015             at(time)          ~:28PM
                                                                                                                              c
  C. The inmate was advised ofthe rights before the DHO by (staff member):

  V. Torres, Unit Team          on(date)   08-13-2015@2:OOPM       and a copy of the advisement of rights form is attached.

  II. STAFF R~PRE~ENTATNE
                                                                       Yes:                        No:             X
  A. Inmate waived right to staff representative.
                                                                           Lieutenant 7. Gabby            appeared.
  B. Inmate requested staff representative and
                                                                                                      say anything
  L~t. Gabby stated,"He complained the hand cuffs were too tight and hurting his wrists. He did not
                                                                                                    would  indicate
  about the officer twisting his wrist. I would have put that down. There was no injury found ttlat
                                                                                                               see
  his wrist was twisted. His injuries were consistent with the use offorce. I reviewed the video. I could not
                                                                                    I couldn't see any twisting. "
  that anything out of the ordinary was going on. It looked like a standard escort.
                                                                                                   t.~ postpone hearing to
   C. Requested staff representative declined or could not appeaz but inmate was advised of option
   obtain another staff representative with the result that: N/A

   D. Staff Representative                                                N/A                      was appointed

   III. PRESENTATIOleT OF EVIDENCE

   A. Inmate admits               X Denies               the charge(s).

   B. Summary ofInmate Statement:
   TnmatP Cyrus SLTLLNAN,Register Number 74918-065, stated,"I don't believe I hit him in the face. I may
                                                                                            kept talking. I
   have moved my elbow when he twisted my wrist. He didn't warn me he would use force ifI
   believe i struck him in the chest." Inmate SULLIVAN also submitted a written statement .

   C. Witnesses:
                                                                          Yes:                              No:       X
   1. The inmate requested witaess(es).

   2.'I~e following persons were called as witnesses at this hearing and appeared.
   N/A

   3. A summary ofthe testimony of each wiiaess is attached.

   N/A
             Case 5:18-cv-01029-VAP-SHK Document 1 Filed 05/11/18 Page 31 of 52 Page ID #:31



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                                         ~~~~~~~
                                            I HEARING O
                                     DISCIPLINE                       CER REPORT cnr~
sUG zl                                                 li~~"SATE C l'               FEDERAL BUREAU OF PRISONS
~~.5. I3EPAR'TMENT OF JUSTICE


 Name of Inmate:         SULLIVAN,Cyrus                Rig. No.:      74918-065       Hearing Date:      09-09-2015

 4. The follov✓ing persons requested were not called for the reasons) given:
 N/~A

 5. Unavailable witnesses were requested to submit written statements and           Yes          No           N/A       X
 *~hase staxements received were considered.

~ D. Documentary Evidence:In addition to the ~cident Report and Investigation, the DHO considered the foIlowing
~ documents:
  Supporting Memorandum
  Evidence Photographs
  Clinical Encounters
  Written Statement provided by inmate SULLIVAN

  E. Confidential information was used by DHO in support of his findings, but was not revealed to the inmate. The
  confidential information was documented in a separate report. The confidential information has been (confidential
  informants have been) detErmined to be re}iable because: N/A

  IV. FINDINGS OF THE DHO

  X      A. The act was committed as charged.

         B. The fallowing act was. committed:

         C. No prohibited act was committed: Expunge according to Inmate Discipline PS.

  V.SPECIFIC EVIDENCE RELIED ON TO SUPPORT FINDINGS (Physical evidence, observations, written
  documents,etc.)

  The inmate's due process rights were read and reviewed by the DHO to the inmate. The DHO confirmed the inmate
  received a copy of his incident report. T7~e inmate submitted a written statement for consideration. The inmate was
  afforded an opportunity to meet with his staff representative. The DHO advised the inmate that the staff witness
  requested would not be called to testify regarding the loosening of his hand restraints. The DHO confirmed the medical
  assessment confirmed the hand restraints were loosened. The inmate indicated this information was adequate and he did
  not request the appearance of medical staff to testify. The DHO advised the inmate a delay occurred in the processing of
  the incident report, and further advised the inmate this incident report was referred to an outside agency for possible
  criminal prosecution. The inmate could not offer any justification how this delay negatively affected his ability to defend
  himself at the hearing. The inmate understood his due process rights, and was ready to proceed with the DHO Hearing.

  The DHO found inmate C~~vs SULLIVAN,Register Number 74915-065, committed the prohibited act of Assaulting
  Any Person, in violation of Code 224. The DHO relied upon the reporting officer's statement which indicated on July 29,
  2015, at approximately 12:40 p.m., the reporting officer was escorting inmate SULLNAN,Gurus, Register Number
  74918-065, back to cell 260 on F-Range(ofthe Special Housing Unit) when he became aggressive and was able to lut the
  reporting officer in the face with his right elbow. The reporting officer then placed inmate Si1LLIVAN on the floor to
  preverrt fiuther assault~to himself ar other staff.

   The DHO relied upon the Supporting Memorandum provided by Senior Officer Specialist N.Pedraza who indicated on
   July 29,2015 at approximately 12:40 p.m. he was involved in an immediate use offorce an inmate SULLNAN. He
   observed SULLNAN being aggressive toward staff. SULLNAN was refusing to go back into his cell. Staff attempted
 ~ to put inmate SULLIVAN back into his cell and be became combative. Inmate SULLNAN turned his left shoulder and
   used his elbow to str-ilce OfficerLuua in theme. Inmate SULLNAN was placed on the ground to gain control of his
   aggessive behavior. Officer Pedraza assisted staff in controlling inmate SLTLLIVAN's~. Inmate SULLNAN was
   then escorted to an observation cell to be medically assessed.                  L      ,,, ~~ ~ .y9~
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                                       DISCIPLINE NF,ARTNG OF~CER REPORT cn~
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~UG~~                                                  1~~"~T~         ,
                                                                    COPS
 .5. DEPARTMENT OF JUSTICE                              I ,'i• ~ ~-    '                   FEDERAL BUREAU OF PRISONS

 T"ne DHO relied upon the Supporting Memorandum provided by Senior O~'icer T. Oeltjenbruns who indicated on July
 29, 2015 while conducting a cell search of cell 260 on F Range in the Special Housing Unit, inmate SULLNAN was
 being placed back into his cell. He was given a direct order to go back into his cell. That is when he turned in an
 aggressive manner and struck the escorting officer's facial region with his elbow. He assisted in placing the inmate onto
 ~e ground with the proper force necessary and gave him multiple orders to give up his other hand because he had.  ,_ slipped
     cuffs. He was finally able to apply the hand restraints. He then escorted the inmate with  another officer to
   bservation Cell #1, where he helped apply progressive restraints. He received injuries to his right l ee and right elbow
 during the incident                          "—           ~ ~~~ ~~-„~,-~~

                                                                                                        on July 29, 2015
 The DHO relied upon the Supporting Memorandum provided by Senior Officer A.01mos who indicated
 at approximately 12:40 p.m. he witnessed inmate SLJLLiVAN  being aggressive toward staff After  a  cell search was
 conducted on inmate SULLN.AN's cell, staff attempted to put inmate SULLNA    N back into his cell; he then  became
 combative. Inmate SULLNAN struck Officer Luna in the face. He assisted in placing inmate SULLNAN the      on
                                                                                                                 be
 mound to gain control of his aggressive behavior. Inmate SULLNAN was then escorted to an observation cell to
 medically assessed.
                                                                                                          indicated on July
 Tfie DHO relied upon the SuppDrting Memorandum provided by Senior Officer Specialist S. Luna who
 29, 2015 at approximately 12:40 p.m as he was escorting inmate S[JLLIVAN back       to cell 260  on F Range  of the Special
                                                                                                       placed inmate
 Housing Unit, SULLNAN became aggressive and hit him in the f~ with his right elbow. He then
                                                                                                                           in
 SULLNAN on the floor to prevent further assault to himself or other people. He experienced right shoulder pain, pain
 both of his lees and both hands and a small cut on his right and left thumbs as a result of the immediate  use of force.

                                                                                                           clinician he had
  The DHO relied upon the Clinical Encounter performed on Officer S. Luna. Officer Luna stated to the
  been elbowed in the face by an inmate and was experiencing gain. Officer Luna also indicated    he  had pain in the
                                                                                                                      noted
  shoulder, hands and knees as a result of an immediate use offorce due to the assault by the inmate. The clinician
                                                                                                                  up with his
  erythema and tenderness to the left side of Officer Luna's facial area and advised him to apply ice and follow
  primary physician for further treatment,
                                                                                                              he was inaccurately
 /I~e DHO considered the written statement provided by inmate SULLIVAN in which be indicated
                                                                                                                                for him
  chazged vuith Assautt on Staff and claimed he was Assaulted by Staff. He claimed it was not physically possible
  to elbow the reporting officer in the face while han c e ue to 'ted vertical mobility. SI7LLNAN indicated the
                                                                                                              he              he suffered
  reporting officer did not report twisting his wrist in a painful fashion immediately beforehand, and claimed
                                                                     and  Lieutenant  Williams   while   in the observation     room.
  a beating and torture from the reporting officer, other offscers,
                                                                         for F-Range,   Observatio   n Room    1,  and  the   Main  Floor
  SIJLLNAN requested the video surveillance footage be reviewed
                                                                                          and  unusual   punishment     far  in excess  of
  in SHt7 to see what malty took place, and indicated he had already endured cniel
                                                                                                                on  the  basis  that he
  any punishment permitted by the program statement. He requested the incident report be expunged
                                                                                                                          He requested
  was already punished and the reporting officer unnecessarily assaulted him by twisting his wrist suddenly.
                                                    or his appointed  lawyer.  He  also  claimed   he  did not  get  a copy    ofthe
  copies of the video footage be provided to him
                                                                indicated  be thought  it might  be retaliation   for  a motion   be filed
  incident report until almost Z weeks after the incident and
                                                                                   twisted   his wrist  and  that he   was   beaten  and
   in court. The DHO considered inmate SULLIVAN's allegations the officer
                                                                                                               to  SULLNAN       's
  tortured by staff. The Clinical Encounter completed by medical staff references a minor laceration
                                                                                                              en as        if he wanted ~
   scat ,su erficial abrasion to his back, neck,face, and swelling and abrasion behind both ears.
                                                                                                                                   's ^a
  to      e a statement as to how his injury occurred, the only+ remark recorded is "CJse of force." Inmate SULLIVAN                         u
                                                    and  he required  no fi~~  h~~1nt         Based   upon   correctiona    l experience ,
   injuries were cleaned with hydrogen peroxide,
                                                                                  N  were  consistent   with  staff using    force to
  the DHO was convinced the minor injuzies sustained by inmate SULLIVA                                                                       P~'~
                                                                                                                the video footage
   place the inmate on the floor and regain control. Coupled with the Sta$'Representative's review of
                                                                                                       testimony that SL7LLNAN
   indicating he didn't observe staff t~vi~~ting SULLNAN's wrist, and the staff representative's
                                                                                                                    's claims that he
   never reported the officer fwisted his wrist, the DHO found no evidence to support inmate SITLLNAI~<
                                                                                                                 a copy of the incident
   was assaulted by, beaten, or tortured by staff. The DHO confirmed inmate SULLIVAN did receive
   report several days after the incident and oace the  FBI  declined  prosecution . The   DHO    determined    inmate    SULLNAN
   was provided the copy a minimum of24 hours prior to the final       hearing  and that  the delivery  delay   did  not  hinder  his due

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 SP-A6304
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                                      DI~C`Il'LINE ~'ARi~G OFFICTER REPORT cn~r
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~.~. DEPARTMENT OF JT~ST~CE                          I~`~h Ih~~~,                     FEDERAL BUREAU OF PRISONS
         l



    process. Although SULLNAN claimed if was not.physically possible for him to strike the reporting officer in the face
                                                                                                                                 S
    with his elbow while handcuffed,the DHO determined it was possible based upon the height of both' dividvals, the ~~
                                                                                               the strike landed  on  e        p ~ ~
    position they were both in, and the flexibility exhibited by inmate SULLNAN. Whether
    officer's face as reported by the victim and the multiple staff who wi~essed the incident, or in the chest as suggested bye
    inmate SULLNAN,the DHO was convinced inmate SULLIVAN did assault the reporting officer with bis elbow.
i
    The DHO relied upon the StaffInjury.Assessment completed for the reporting officer which indicated both lees
    sLcta;ned contusion,swelling and tenderness. He also received minor abrasion to both thumbs,tenderness tD his right
    hand at the 2~ joint, right shoulder tenderness, and swelling and tenderness to the left side of his face.

    The DHO considered the repetitive nature ofthe prohibited act within the past eighteen(18) months,inmate
    SULLNAN has committed multiple offenses of assaulting correctional personnel. Based upon this information, the
    DHO determined inmate SULLIVAN demonstrated a propensity to engage in prohibited assauliive behavior toward staff..

    The DHO relied upon inmate SULLNAN's statement at the DHO hearing in which he admitted to the charge.

    Based upon the greater weight ofthe evidence, the DHO found inmate G~~.s SULLNAN,Register Number 74918-065,
    committed the prohibited act of Assaulting Any Person, in violation of Code 224.

    VL SANCTION OR ACTION TARN

    Offense Severity:      High                                                SGT Available:   Not eligible — PLRA

    20 days, Disallowed Good Conduct Time
    4 months,Immediate Family Only Visiting privilege [Only: Mother, Father, Sister, Brother, Spouse, Children-to
    commence when any/all LP VISTT sanctions) end]
    4 months, MP3 Player restriction

    VII.. REASON rOR SANCTION OR ACTION TARN

    Any a.crion on the part of any inmate ro assault staff threatens the security ofthe insritution and fife safety of
    others. Staffresponding to this incident also received injuries. The disallowance of good conduct time was
    imposed based on the severity ofthe offense, and the inmate's sentence commitment Sanctions v~ere imposed
    in an attempt to correct the inmate's firture behavior.

    VLIL APPEAL RIGHTS:The inmate has been advised of the findings,specific evidence relied on, action and
    reasons for the action. The inmate has been advised of his right to appeal this action within 20 calendar days
    under the Administrative Remedy Procedure. A copy of this report has been given to the inmate.
                                                                    Yes    ~     X     No

    IX.DISCIPLINE HF.ARTNG OFFICER
                          Printed Name                              ,i ~ ~ ~ i afore                            Date

     D. El}iot~ Discipline Hearing Officer                                                              14-OS-20-15

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s~ ~4c~~4                       DISCIPLII~'~E ~H~auT~NV~YFFIC'~R REPORT cn~
U.S.1DEPARTMENT OF 3USTICE                 ~ ~ ~ ~~'~.~TL ~'               FEDERAL BUREAU OF PRISONS

 *Dote: Delivery ofthis incident report was delayed due to the increased volume of heari.n.gs conducted during
 this period. As a result, the final report was not completed within 15 working days. This delay will not hinder
 the inmate's due process or right to appeal the DHO's decision. At the final hearing,the inmate was advised of
 his right to appeal by submitting a BP-10.
  Prescribed by P527Q                                                             Replaces BP-S304(52) JAN 88




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                              ~~1 ~         y,



 May 23, 2-016




 I}irecta~, Federal Bureau ofPrisons.
 320 First Street, NW
 Wigton,DC 20534


  RE: FREEDOM OF INFORMATION REQUEST


  Dear Director:

                                                                                       2748458,
  I am requesting that you please send me copies ofthe video tape from incident report
                                                                             is        lance footage
  DHO appeal 837454-R1,and adm~nl~five remedy 836848-F1. The video s~uveil
                                                                                       on July 29,
  shot on F-Range in the Special Housing Unit(~HLT)at USP Vctorville at 12:40 p.m
                                                                                      ille.
  2015. This video was last kaown.to lie in the possession ofLt Gabby at USP Victorv

                                                                                    exists. Oiz Apri17,
  In addition to the above noted video, I am also req"~~►- also another video that
                                                                                          my walk to
  2016, SIAAlvarez came ~ meet with me and said that he had another video feafuiing
                                                                              in         iatrng pain due
  my medical exam in which it took me about sup minutes to walk to medical excnzc
                                                                                     SI          z and he
  to bone tight restraints. Since my release from the prison on 5/9/16 I've spoken to Alvaze
                                                                                      l himself SIA
  said that Lt Gabby ha.d burnt him a copy of the FRange video and kept the origina
  Alverez can be reached in his office located at FCIII at 760-530-5700 ext 5869.

                                                                           a         a#ion of
  Enclosed is the Freedom of Information/Privacy Act R~ord Release Form and Certific
  Ideality form completed by me, Cyrus Andrew Sullivan, BOP ID 74918-065.

                                                                                    be handled as well.
  Please exgedit.e for this request so thaf any further action onmy part can timely
  Ithank you for your immediate assistance.

   Thank you.




   Gras A. Sv.Ilivan
   1236 SE 46th Ave.
   Port}.and; OR 97215

   Enclo: Forms-Freedom of Inforn~ation Request
                Ceriifics~e of Identity
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 Boyers, PA 16016. F-c~ C24) 794-4594. e-Half: FlSFO[PAReau~opm.go


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                                                                                                                                                     FORM            Form Approved
                                    FREEDOM O~[NFORMATlON /PRIVACY ~RCT RECC}R[3 iiEQUEST                                                                            oMs No.szo~-av9
                                            Privacy Routine Use and Qisclesure fnfarma~ion
                                                                                                                                                    to the Freedom of
                                                                 will be used to beate and provide the requester responsive records pursuant
Privacy Act Statement Information provided by a requester                                        tolled  this informati on is contained  in 5 US.0  § 552,5 US.G § 552a,
                                                          of 1974(5 US.0 ~ 552a). Authority to
inr~rmation Act(5 US.G § 552}, and/or the Privacy Act                                Office of Personnel  Manageme   nt (OPM)    Federal Investigative Services to locate
                                                       to  enable  the United States
5 CF.R § 2972Q7(b).The purpose of the collection is                                                                                                the required information
                                                               the Freedom of Information Act and the Prn+ary Act of 1974. Failure to provide
appfi~ble records and to respond to requests made under
may resuh in no action being taken on the    request
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                                                         will primarily be used to comply with requests for infom'sation under True 5 US.Code
Routine Uses The inforrtsation collected on thk form
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      To disclose infomsation to the 01~ice of tJianagement and Budget
       relief legislation as setforth in OMB Circular No. A-19.
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       To disclose information to an agency,subject to law, rule, or
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       To disclose information to Federal agencies i~ order to                                       under   the Freedom   of  fnformatfo n Act or the Privacy Act of 1974.
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       experience or particular competence,for use by OPfJ~ in making
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       To d'~sclose information to any source from which additional informati                                                                                                  g
                                                                           on requested), where necessary to obtain information relevant to an OPM decision concernin
       the purpose of the request,and to identrfy the type of informati
        a Privacy or Freedom of information   Act request
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       To disclose to the Federal agency involved,an OPM decision
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        To disclose pertinent information to the appropriate Federal,                                   or  potential violation of civil or criminal !aw or regulation.
                                                       becomes aware   at an indication  of a violation
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                                                                          of an individual in response to an inquiry from that congressional office made at the request
        To provide information to a congressional office from the record
        of that individual.
                                                                                                                                                                           by a
                                                                court, or a party in f'rtigation before a court or in an administrative proceeding being conducted
        To disclose information tD another Federal agency,to a                                          g. In those cases where  the   Governme   nt  a not a party to the
                                                                           administrative proceedin
        Federal agency, when the Government is a party to the judicial or
                                                                       signed by a judge.
         proceeding,records may be disclosed if a subpoena has been
                                                                                        ation For use in records management inspections. .
        7o disclose information to the National ArcKnres and Records Administr
                                                                                      analytical studies in support of the function for which tf~e records are collected and
        By OPM in the production of summary descriptive statistics and
                                                                                  studies    do not contain individual identifiers, in some ins~nces the sefectian of elements ofdata
        maintained, o~for related worldorce studies. While published
                                                                                        the data individually identifiable by inference.
        included in the study may be structured in such a way as to make
                                                                                               g before a court, adjudicative body,or other administrative body before which OPM is
        To disclose information to the Department of Justice,or in a proceedin
                                                                                        or(2) Any employee of OPM in his or her official capacity; or(3) Any employee of OPM in his
        authored to appear, when:(1)OPM,or any component thereofi                                                                                                                      s
        or her individual capacity where       the Departme     n# of Justice   or OPM    has agreed to represent the employee; or(4)The Un'~ted States,when OPM determine
                                                                                   is a  partyto   litigation or has an interest in such litigation, and the use of such records by the
        that I'itigation is likely to affect OPM or any of its components;                                                                                                             the
                                                                                       and necessary to the I'rtigation provided, however,thatthe disclosure is compatible with
         Department of Justice or OPM is deemed by OPM to be relevant
         purpose for which recottis were collected.
                                                                                          Board or the Office ofthe Special Counsel, when requested in connection with appeals,
        To disclose information to officials of the AM1errt Systems Protection
                                                                                         of OPM rules and regulations,investigations of alleged or possible prohibited personnel
        special studies of the civil service and other merit rystems,review
                                       functions,  e.g., as promulgat    ed  in 5  US.G    12D5   and 1206, or as may be authori~d by law.
         practices, and such other
                                                                                                   on when requested in connection with investigations into alleged or possible
        7o disclose information to the Equal Employment Opportunity Commissi
                                                                                             agencies    with the Uniform Guidelines on Employee Selection Procedures or other
         discrimination practices in the Federel sector, compliance by Federal
                                     Commissi   on  and  to otherwise   ensure     complianc     e with the  provisions of5 US.0 7201.
         functions vested in the
                                                                                           its General Counsel when requested in connection with investigations of allegations of
         7o d'rscfose irfiormation to the Federal Labor Refatiorts Authority or
                                                                                             Panel.
         unfair tabor practices or matters before the Federal Service Impasses
                                                                                       (SSI~ under Public Law 43-579,Section 7(b).5oliotation of SSNs by OPM is authored
  frtformafion Regarding D'esclosure of your Soaal SecuriEy Number
                                                                              22,1443.     Providing your social security number is voluntary. You are asked to provide your social
  undertheprovisions of Executive Order 4397,dated November
                                                                                   ng to you. Without your social security number, OPM may be unable to locate records pertaining
  security number only to facilitate the identification of records relati
                                                      of      large  number      of Federel empVoyees,conVacrtors,civifiarts and mil'~ry personnel v~rho have identi~l names and/
  to you,The use of 55Ns is necessary because the
                                                                              their SSNs.
  or birth date and whose iderrtrties can only be distinguished by
                                                                                       of information is estimated to varyfrom 5 to 15 minutes with an average of5 minutes per
  Public Burden Statement Public burden reporting for this collection
  response,including time for reviewing         instructio  ns, searching   existing    data sources, gathering the data needed, and completing and reviewing the collection of
                                                                                                 n and any suggestions for reducing the burden to US. Office of Personnel
  information. Send comments regarding the accuracy of this burden estimatio
                                         ive Services, Attu:  OBM   Number     (3206-025     9),19   0 E Street NW,Washington,DC 2D415-79DD.
   Management,Federal Investigat




                                                                                          Page 3 of 3                                                          lNV 100
                   US. Office of Personnel Management
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                                                          U.S. DeparEment of Justice
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     ~~'
                                                          Federal Bureau of Prisons

                                                                   Wesfern Regional Office
                                                                     7338 Shoreline Drive
                                                                     Stockton, CA 95219
June 22, 2016

Cyrus Su[[~van
1236 SW 46th Ave.
Portland, OR 97215

Dear Requester:

The Federal Bureau of Prisons'(BOP)received your Freedom of Information Act/Privacy
Act (FOIA/PA)request. Your request has been. assigned a number and forwarded to the
processing ofFce noted below. Please make a note of the request number and
processing office as you will need to include it in any correspondence or inquiry
regarding your request. You requested copies of a video tape from July 29, 2015 and
April 7, 2016(See Request for my Info).

FOIA/PA Request Number.           2016-055Q9 ~"'~`            ~
Processing Office:                WXR

The time needed to complete our processing of your request depends on the complexity
of our records search and the volume and complexity of any records located. Each
request is assigned to one of three tracks: simple, complex, or expedited. Due to the
large number of FOIA/PA requests received by BOP and the limited resources available
to process such requests, BOP handles each request oh a first-in, first-out basis in
relation to other requests in the same track. Your request was assigned to the complex
track and placed in chronological order based on the date of receipt.

We determined exceptional circumstances exist as the documents responsive to your
request must be searched for and collected from a field office, and/or the documents
responsive to your request are expected to be voluminous andwill require significant
time to review, and/or your request requires consultation with at least one other agency
with a substantial interest in your request. Because of these unusual circumstances, we
are extending the time limit to respond to your request beyond the ten additional days
provided by the statute. Processing complex requests may take up to nine months.
Pursuant to 28 C.F.R.§ 16.5(b) and (c), you may narrow or modify your request in an
efFart to reduce the processing time.

Pursuant fo 28 C.F.R.§ 16.10, in certain circumstances we are required to charge fees
for time spent searching for or duplicating responsive documents. ff we anticipate your
fees will be in excess of $25.00 or the amount you have indicated you are wilting to pay,
we wilt notify you of the estimated amount. At that time, you will have the option to



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refornu[ate your request to reduce the fees. If you requested a fee ~vafver, we wilt make
a decision whether to grant your request after we determine whether fees wil! be
assessed for this request.

if you have questions regarding the status of your request or anything discussed in this
letter, you may contact the WXR at 209-556-9700 or the BOP FOIA Public Liaison, Mr.
C. Qamelf Stroble at(202)616-7750 or BAP FORA Section, 320 First Street, MN, Room
936, Washington, D.C. 20534. You can also check the status of your request on line at
http://v~~ww.bop.qov/Pu~licl~fo/execute/foia.


Sincerely,

WXR
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                                                    ~~


                                                             U,S. Department of Justice
                                                             Federal Bureau of Prisons

                                                                       Wesrem Regional Dice
                                                                         7338 Shoreline Drive
                                                                         Stockton, CA 95219
October 4, 2016

Cyrus Sullivan
'S 236 SW 46th Ave.
Portland, OR 97215
Request Number: 2016-05509

Dear' Requester:

This is ~n response to the ~~ove;eferenced Freedom of fn~ormatian Act(FOIA) request.
Specifically, you requested copies of a video tape from July 29; 2015 and April 7,
2016.

Your request for acopy these videos is being withheld pursuant to the following
 provisions:

5 U.S.C.§ 552(b}(6) concerns material the release of which would constitute a clearly
unwarranted invasifln of the personal privacy of third parties.

 5 U.S.C.§ 552{b)(7}(C) concerns records or information compiled for law enforcement purposes
 the release of which could reasonably be expected to constitute an unwarranted invasion of the
 personal privacy of third parties.

 5 U.S.C.§ 552(b)(7~(E) concerns records or information compiled for law enforcement purposes
 the release of which would disclose techniQues and procedures for law enforcement
 investigations or prosecutions.

 5 U.S.C.§ 552(b)(7)(F) concerns records or information compiled for taw enforcement purposes
 the release of which could reasonably be expected to endanger the fife or personal safety of an
 individual

 If you have any questions, you have the right to seek assistance from the undersigned
 or BOP's FOIA Public Liaison, Mr. C. Darnell Stroble (202) 616-7750).

 If you are not satisfied with my response to this request, you may administratively
 appeal by writing to the Director, Office of Information Policy (OIP), United States
 Department of Justice, Suite 11050, 1425 New York Avenue, NW, Washington, DC
 20530-0001, or you may submit an appeal through OIP's FOlAonfine portal by creating
 an account at: https://foiaonfine.regulations.qov/faia/action/pubfic/home. Your appeal
 must be postmarked or electronically transmitted within 90 days of the date of my
 response to your request. ff you submit your appeal by mail, both the letter and the
 envelope should be clearly marked "Freedom of information Act Appeal." Additionally,
 you have the right to seek dispute resolution services from BOP's FOIA Public Liaison,
  Mr. C. Darnell Stroble ((202)616-7750) or the Office of Government Information
                                            r
 Case 5:18-cv-01029-VAP-SHK Document 1 Filed 05/11/18 Page 42 of 52 Page ID #:42


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                                                                                   n FOIA
Services (OGIS). OGIS offers mediation services to resafve disputes betwee
                                                                              on. Using
requesters and Federal agencies as a non-exclusnre alternative to litigati
                                                                                      ation for
OGiS services does not affect your right to. pursue litigation. The contact inform
                                                                           al Archiv   es and
OGIS is as follows: Office of Government Information, Services, Nation
                                                                             Maryland
Records Administration, Room 251Q, 8601 Adelphi Raad, College Park,
                                                                     ; toll free  at 1-877-
20740-6001; e-mail at ogis@nara.gov; telephone at 202-741-5770
6~4-6448; or facsimile at 202-741-5769.


Sincerely,



Dennis . W g
Region C nsef




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Case 5:18-cv-01029-VAP-SHK Document 1 Filed 05/11/18 Page 43 of 52 Page ID #:43
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  Qctober 18, 2016




  Director, Office of Information Policy
  Unit~,d States Degar(ment of Justice
  Suite 11050
  1425 NewYarkAve~ue, NW
  Washington, DC 20530-0001


  RE: FREEDOM OF INFORMATION ACT APPEAL


  Dear Director:

  This is an appeal of a decision by the Federal Bureau of Prisons ("BOP") to withhold information
  requested under the Freedom of Information Act ("FOIA"). On October 4, 2016 Dennis M. Wong,
  Regional Cou~.sel, Western Region, sent a response to FOIA request 2016-055Q9 staling that my re-
  quest for two surveillance tapes is being withheld pursuant to several parts of 5 U.S.C. 552(b). Mr.
  Wong failed to articulate any justification for withholding the tapes beyond reciting the statute word
  for word andIcannot thick of any possible ara 7ment that would give merit to hi.s decision.

   The tapes in question include one surveillance tape aztd one tape shot using a handheld camera in the
   Special Housing Unit ("SHU'~ at USP Victorville on July 29, 2Q15. The surveillance tape should
   show Senior~Officer Specialist S. Luna repeatedly punching me in the head whileIwas lying prone
   on the ground and in hand cuffs. The handheld camera should show me being forced to walk for
   about six minutes in bone tight shackles and my medical exam in whichIrecounted for the camera
   the beatingIsuffered on f-range and the torhzreIsuffered in Observation Room 1 tUat included be-
   ing punched in the face by Lt S. Williams.

   5 U.S.C.. 552(b)(~ and ('~(C) concern material thaf would constitute an unwarranted invasion of
   privacy to third parties.Icannot think of anyone whose privacy would be invaded by the release of
   these tapes except for me.

   5 U.S.C. 552(b)('~(E) "concerns records or information compiled for law enforcement purposes the
   release of which would disclose techniques and procedures for law enforcement investigations or
   prosecution." On a purely technical level these tapes do not show any investigation and there have
   been no prosecutions. The only techniques used by law enforcement that the tapes would disclose
   are either common 1¢iowledge or illegal. Far instance it is common l~owledge that uncooperative
   inmates may be taken to the ground by force and restrained using shackles. Punching restrained in-
   mat;es that were uncooperative, but became cooperative and are now lying on the ground under a
   pile of officers is assault. Forcing an inmate to walk wearing shackles so tight that they turned what
   is normatty a 30 second wa.tk into an excruciating 6 minute ordeal is torture. Assault and torture are
Case 5:18-cv-01029-VAP-SHK Document 1 Filed 05/11/18 Page 44 of 52 Page ID #:44

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 illegal techniques the disclosure or which could never jeopardize any legitimate future investigation
 or pmsecu~ion.

  5 U.S.C. 552(b)('~(F)"concerns records or information compiled for law enforcement purposes the
  release of which could reasonably be expected- to endanger the life or personal safety of an individ-
  ual," Icannot think of any way that giving me videos of myself being assaulted, tortured, and treated
  by medical would endanger anyone's life. Even ifI were to make the tape available to the public I
  don't see how it would disclose any private information about staff members that I believe use their
  real names at work. Perhaps the BOP could release a tape with blurred faces to one and keep the
  original for the time being. The only other possible safety concern I could think of would be public
  backlash similar to that that followed the infamous Rodney King trial in 1941. I don't see any way
  that anyone in the public seeing these tapes would start rioting. They might voice negative opinions
  about the ogicers involved, but that would be it.

                                                                                                   keep
  Please order the BOP to turn over the anginal tapes or copies with blurred faces as long as they
  the original unedited tapes on file for future legal proceedings. By withholding the tapes the BOP is
  obstivcting my ability to consult with legal counsel regarding this matter. Thank you.

  Sincerely,

     ~~~' ~- 1 /~'
  cy~ ~. svv.~~~.
  1236 SE 46th Ave.
  Portland, OR 97215

  Enclo: Copies of Original Letter, Forms-Freedom ofInformation Request
               Certi.~icate ofIdentity, and BOP response.




                                   .J~/
Case 5:18-cv-01029-VAP-SHK Document 1 Filed 05/11/18 Page 45 of 52 Page ID #:45
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  ,~~ `~~u oF-_                                        U.S. Department of,Tus~ice
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~~~G'^ ~
                                                       Office of Information Policy
~ L' ~~
  G~` ~~=   '.1'7~
                  ,;                                   Suite 11050
            , ,,.,~                                    1425 New York Avenue, NW
  ___     ,,,                                          Y~ashington, DC 20530-0001


Telephone:(202) 514-3642

                                                       December 1,2016


N1r. Cyrus A.Sullivan.                                 Re:     Appeal No. D03-AP-2017-000434
1236 SE 46th Avenue                                            Request No. 2016-05509
Portland, OR 97215                                             DRC:ADF

VIA: U.S. Mail

Dear Mr. Sullivan:

      You appealed from the action ofthe Federal Bureau ofPrisons(BOP)on your Freedom
ofInformation Act request for access to video tapes from July 29, 2015 and April 7, 2016.

        After carefully considering your appeal, I am affirming BOP's action on your request. In
order to provide you with the greatest possible access to responsive records, your request was
reviewed under both the Privacy Act of 1974 and the FOIA. I have determined that the records
responsive to your request are exempt from the access provision ofthe Privacy Act See
5 U.S.C. § 552a(j}(2); see also 28 C.F.R § 16.97(2016). For this reason,I have reviewed your
appeal under the FOIA.

        The,FOIA provides for disclosure of many agency records. At the same time, Congress
included in the FOIA nine exemptions from disclosure that provide protection for important
interests such as personal privacy, privileged communications, and certain law enforcement
activities. BOF properly withheld this information in full because it is protected from disclosure
under the FOIA pursuant to:

          5 U.S.C. § 552~J(~,~hicli concerns material the release of which would
          constitute a clearly unwarranted invasion ofthe personal privacy ofthird parties;

          5 U.S.C. § 552(b)('~(C), which concerns records or information compiled for law
          enforcement purposes the release of which could reasonably be expected to
          constitute an unwarranted invasion ofthe personal privacy ofthird parties;

         5 U.S.C. § 552(b)('~(E), which concerns records or information compiled far law
         enforcement purposes the release of which would disclose techniques and
         procedures for law enforcement investigations or prosecutions; and

         5 U.S.C. § 552(b)(~(F~, which concerns records or information compiled far law
         enforcement purposes the release of which could reasonably be expected to
         endanger the life or personal safety of an individual.


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Please be advised that for each of these exemptions, it is reasonably foreseeable that disclosure
of the information withheld would harm the interests protected by these exemptions.

       Please be advised that this Office's decision was made only after a full review of this
matter. amour appeal was assigned to an attorney with this Office who thoroughly reviewed aDd
anal~~zed your appeal, your underlying request, and the action of $OP in response to your
request. If you have any questions regarding the action this Office has taken on your appeal, you
may contact this Office's FOIA Public Liaison for your appeal. Specifically, you may speak with
the undersigned agency official by calling (202) 514-3642.

      If you are dissatisfied with my action on your appeal, the FOIA permits you to file a
Lawsuit in federal district court in accordance with 5 U.S.C. § 552(a)(4}(B).

         For your information, the Office of Government Information Services (OGIS) offers
mediation services to resolve disputes between FOIA requesters and Federal agencies as a non-
exclusive alternative to litigation. Using OGIS services does not affect your right to pursue
litigation. The contact information for OGIS is as follows: Office of Government Information
Services, National Archives and Records Administration, Room 2510, 8601 Adelphi Road,
College Pazk, Maryland 20740-6001; e-mail at ogis(a~nara.gov; telephone at 202-741-5770; toll
free at 1-877-684-6448; or facsimile at 202-741-5769.

                                                      Sincerely,



                                                       X                        ~~~
                                                       Sean R. O'Ne~i
                                                       Chief, Administrative Appeals StafF




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           Case 5:18-cv-01029-VAP-SHK Document 1 Filed 05/11/18 Page 47 of 52 Page ID #:47

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                                                                 INSTRUCTI011~S: Please read carefully the irtstrudiorTs on the                   FORM APPROVED
           CLAiM FOR DAI~GE,                                     reverie side and supply information r~uested on both sides of this               OMB NO. 11 ~5-0ODB
            INJURY,OR DEATH                                      form, Use additional sheets)'rf necessary. See reverse side for
                                                                 add~iortal instrudians.

1. Submit io Apprnpri~e Federal A9ern.Y                                                   2 Nine,address a~ cia'msant, and daimartf's personal reP~eserttative if arty.
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Federal Bureau of Prisons
West~m Regional Office                                                                    Cynis drew Sullivan
7338 Shore{ine Dave                                                                       1236 SE 4fith Ave
Stockton, Ca 95219                                                                        Portland, Or 97215

3.7ypE pF Q~{p~pypl~N7                4. DATE OF 61RTH          5. MARiiAL STATUS         6.0,4TE AND DAY OF ACC@FM                              7. TIME(aM.OR P.M.~

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                                                                                                                                        fhe place of o~urten~ and
8. BASIS OF CL41M (Stye in deta~ the Fmoam tads ~d arcumst~ces atl~ding the d~na9e, inJury~ ar de~h.ider#yin9 Pens and prnpeAy imrolved,
   ffie cause(hereof. L}se ad~onal~~ ~sarY}.
    au{t and torh~re by correctional officers at USP Victarviife known to me as SOS S. Luna and Lt. S.
  tliiams. This incident has been wetl documented and all relevant pages in my possession are being
attached to this form.To sum it up Luna punched me in the head repeatedly whife f was lying prone on the
ground, in handcuffs, and completely helpless. A cut opened up on my head from which F bled profusely.
   en when V1rlliams came on the range(SHU F-Range) he encouraged their behavior before taking me
 o a "o~serva~ion room" so that f could be further beaten and tarEured off camera.
g                                                                           PROPERTY DAl1~4GE

NAME APID ADDRF~S OF OWNER,IF OTHER THAN CLAIMAtJT (Nurc~er. Street. City, SYdte. and Zip Code).



                                                                                                                                     MAY BE INSPECTm.
8816-1Y DESCRIBE THE PRdPEATY, NATURE AID DCTEh[T OF T1'~ DAAAAC~ AND 1liE LOCATION OF1NFlERE THE PROPERTY
(See ir~ucGnrrs on re+r~se side).
Permanent physical injury in the form of a scar on my head above my face. Plus psychological trauma for
emotional pain and sut~ering.
~ o.                                                              ~sow~ wruRrnnrttoN~Fu~ o~►rti
                                                                                                                             STATE THE NAANE
STATE 1}1E NATURE AND DCTFNT OF EACH IhtJURY bR CAUSE OF DEATH, WHICH FORMS THE BASIS OF THE CLAIM. tF OTr~R THAN CLAIMAtJf,
OF THE INJURm PH2SON OR DECEDETJT.
There were several injuries. The longest lasfing of whie.~ being the scar on my head that I look at every
time f lock in the mirror. I also suffiered nerve damage in my left hand that has since healed, what felt like
a broken toe for several weeks, and a re-aggravaf~d shoo{der injury that caused me pain for weeks.

,,.                                                                              wrrr~FssFs
                             NAME                                                          ADDRESS M~r~er. Stream, City, S~e~ ar~f ZP Code)




12 (see iRstructimns on reversed                                       AMOUNT OF CL.AIAQ (m dolhars)

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12a PROPB~TY DAAAAC~,E
 $100 for my glasses                      $4~000,OQO                                                                                ~~'~''~~~
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 FULL SATISFACTION !WD FINAL SET7LEINENT OF Tk85 CLAIA~.

 13a. SIGNATURE OF CLAIMANT (See ~r~u~6ons on 2v~se side).                                 13h. PHOP~ MJFABER OF PERSON SIGNING FORAA 14. DATE OF SIC~IATURE
                                                                                           5Q3-250-4408                                                 12127!2016

                             CNQ PENALTY FOR PRE5ENTThIG                                                CRUAINAL PENALTY FOR PRESF1dTING FRAWLILENT
                                  ~p~~µT~                                                                    CI.A~1 OR dtAlOMG FALSE STATFJNENTS

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 by the Govemme~ (See 31 U.S.C. 3729).
                                                                          NSN 7540-00-634~D46                                         STANDAfiD F~KIYI 35 (fitV. 'LlYUCifJ
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           Case 5:18-cv-01029-VAP-SHK Document 1 Filed 05/11/18 Page 48 of 52 Page ID #:48


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                                                                               iAlSURANCE COV'"RAGE

In order that subr~a6om dorms may he ad~c~e3, it is essential that the claimaml pcvvide the following inCom~don reg~d'mg the insurance mwer~e aF the vehicle or property.
5. Do you carry ac:idert Ins~aance? ~ Yes            If yes, give mane and address of ina~rance cnmPanY (Nurt~ber, 5lreet, CnY, StaFe, ~d 7p Code)and pa6cy                     No




56. Have you flied 2 claim with your irtsurar~ mrtier m this instance, and i`sa, is it fu0 raverage or deduc6~7       u Yes ~ fdo I il. If d~uc~ble. state amount




18. tf a ckaim has been fled with your mrrier, what adioo has yo uinsurer taf~n ar proposed i~ take with r~e2nce tc your claim? (ft is neee~ary ft~ you              these facEs).




19. Do you tarty pubf~c liability and property dam~a insurance? ❑Yes            tt yes, give name and address of inwrarrc:e carrier(Number, Street, City, 5t~e. and ~p Code). ~ No




                                                                                     ~HsrRucnoks
Clairtes preserrted under the Federal Tort Claims Act should be su6mit~ed directly to the "appropriate Federal agenry" whose
emptoyee(s) vras involved in the incident If tie incident invo#ves more fhart one ctairrrar►t, each cEaimarrt should submit a separate
claim form.
                                                        Compete al( i~rts -insert the word NONE where applicable.

A CLAIM SHALT SE DEFN~D TO HAVE BEDJ PRESENTm WHEN A FEDERAL                                   DAMAGF~ IN A SLIM CERTAIN FOR INJURY TO OR LDSS OF PROPEKTY, PERSONAL
AGENCY RECENES FROM A CIAIAAANT, HIS DULY AUTHORIZED AGENT, OR LEGAL                           INJt1RY, OR DE4lii ALLEGm TO HAVE OCWRRm BY REASON QF THE INCIDENT.
REpRESENTATNE, AN FXECUTm STANDARD FORM 95 OR OTHER 1MRfTTFT1                                  THE CLAfM MUST BE PRESENTED TO THE APPROPRIATE FEDERAL AGENCY WIT'HIP
NOTIFICAl10N OF AN INCfDEM, AC:COMPANI~ BY A CLAIM FOR MONEY                                   71N~ YE,4RS ASTER THE CLAIM ACCRUES.

Faleu~e 1n wmp~Eely e~uAe tfi~s form or to suPP~Y the reQu~te~ maloersaf within                l"tie amo~ust daicried shod be sub~r~ated by competent evidence ~ foNow~
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Administrative Remedy No. 837454-A1
Part B - Response



You appeal the August 12, 2015, hearing decision of the Discipline
Hearing Officer (DHO) regarding incident report #2736289 in which
you were found to have committed the prohibited act of Assaulting
without Serious Injury (Code 224) . You make no specific request for
relief.

 Our review of your disciplinary proceedings indicates compliance
 with Program Statement 5270.09, Inmate Discipline Program. The
 DHO's decision was based upon the evidence detailed in Section V of
 the DHO report. We find the determination of the DHO is reasonable
 and supported by the evidence. Your Due Process rights were upheld
 during the discipline process. The sanctions imposed were
 commensurate to the severity level of the offense committed and in
 compliance with policy.

 Accordingly, your appeal is denied.




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 Date                                    Ian Connors, Administrator
                                         National Inmate Appeals
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